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                         UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA                :        Hon.    Jose L.    Linares

            V.                          :        Crim.   No.    09-759   (JLL)

LOUIS MANZO AND                                  ORDER
RONALD MANZO


            Under Rule 48(a)     of the Federal Rules of Criminal

Procedure and by leave of court endorsed hereon,                   the United

States Attorney for the District of New Jersey hereby dismisses

the Superseding Indictment against Ronald Manzo that was filed on

April 20,   2010 and that charged violations of Title 18,                   United

States Code,     Sections 2,   1341,    1951(a)     and 1952 (a) (3).

            This dismissal is without prejudice.




                                        PAUL J. FISHMAN                     /
                                        United States Attorney


            Leave of Court is granted for the filing of the

foregoing dismissal




                                                   States District Judge


Date :4////
